






COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS







IN RE:  MANUEL RUBEN GARCIA,



                            Relator.
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No. 08-09-00089-CR



AN ORIGINAL PROCEEDING

		IN MANDAMUS





MEMORANDUM OPINION ON PETITION FOR WRIT OF MANDAMUS



	Manuel Ruben Garcia has filed a pro se petition for writ of mandamus requesting this Court
to order the Judge of the 143rd Judicial District Court, of Ward County Texas to "initiate process"
regarding Relator's Motion for Forensic DNA testing pursuant to Chapter 64 of the Texas Code of
Criminal Procedure.

	In order to obtain relief through a writ of mandamus, a relator must establish:  (1) no other
adequate remedy at law is available; and (2) that the act he seeks to compel is ministerial.  State ex
rel. Young v. Sixth Judicial Dist. Court of Appeals at Texarkana, 236 S.W.3d 207, 210
(Tex.Crim.App. 2007).  An act is ministerial if it does not involve the exercise of any discretion. 
State ex  rel. Hill v. Court of Appeals for the Fifth District, 34 S.W.3d 924, 927 (Tex.Crim.App. 
2001).  Based on the petition and record provided, Mr. Garcia  has not demonstrated he is entitled
to mandamus relief.  See Tex.R.App.P. 52.8.  We therefore deny relator's request.


June 10, 2009						                                                                         

							ANN CRAWFORD McCLURE, Justice


Before Chew, C.J., McClure, and Rivera, JJ.


(Do Not Publish)


